Case:Highly
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     1        IN THE UNITED STATES DISTRICT COURT
     2         FOR THE NORTHERN DISTRICT OF OHIO
     3                 EASTERN DIVISION
     4                      - - -
     5     IN RE: NATIONAL     : MDL NO. 2804
           PRESCRIPTION OPIATE :
     6     LITIGATION          :
           -----------------------------------------
     7                         : CASE NO.
           THIS DOCUMENT       : 1:17-MD-2804
     8     RELATES TO ALL CASES:
                               : Hon. Dan A.
     9                         : Polster
    10                      - - -
                  Thursday, January 24, 2019
    11                      - - -
    12     HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
                    CONFIDENTIALITY REVIEW
    13
                                     -    -    -
    14
                        Videotaped deposition of
    15     LARRY RINGGOLD, taken pursuant to notice,
           was held at Homewood Suites by Hilton
    16     4170 Philadelphia Road, Bel Air, Maryland
           21015, beginning at 5:01 p.m., on the
    17     above date, before Amanda Dee
           Maslynsky-Miller, a Certified Realtime
    18     Reporter.
    19                      - - -
    20
    21
    22
                     GOLKOW LITIGATION SERVICES
    23           877.370.3377 ph | 917.591.5672 fax
                         deps@golkow.com
    24

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    1   APPEARANCES:                                  1           - - -
    2                                                 2           INDEX
    3       BARON & BUDD, P.C.                        3           - - -
            BY: WILLIAM POWERS, ESQUIRE               4
    4       EMMA KABOLI, PARALEGAL                        Testimony of: LARRY RINGGOLD
            600 New Hampshire Avenue NW               5
    5       Suite 10A                                        By Mr. Powers        8
            Washington, DC 20037                      6      By Mr. Lavelle       107
    6       Wpowers@baronbudd.com                     7
            Ekaboli@baronbudd.com                     8             - - -
    7       Representing the Plaintiffs               9           EXHIBITS
    8                                                10             - - -
    9                                                11   NO.       DESCRIPTION        PAGE
            MORGAN, LEWIS & BOCKIUS LLP              12   Rite Aid-Ringgold
   10       BY: JOHN P. LAVELLE, JR., ESQUIRE             Exhibit-1 Rite_Aid_OMDL_0049982-993 39
            1701 Market Street                       13
   11       Philadelphia, Pennsylvania 19103              Rite Aid-Ringgold
            (215) 963-4824                           14   Exhibit-2 Rite_Aid_OMDL_0032421     46
   12       John.lavelle@morganlewis.com             15   Rite Aid-Ringgold
   13       - and -                                       Exhibit-3 Rite_Aid_OMDL_0032422    46
   14       BY: MATTHEW R. LADD, ESQUIRE             16
            101 Park Avenue                               Rite Aid-Ringgold
   15       New York, New York 10178                 17   Exhibit-4 Rite_Aid_OMDL_0027551-552 57
            (212) 309-6141                           18   Rite Aid-Ringgold
   16       Matthew.ladd@morganlewis.com                  Exhibit-5 Rite_Aid_OMDL_21461-463 64
            Representing the Defendant,              19
   17       Rite Aid                                      Rite Aid-Ringgold
   18                                                20   Exhibit-6 Rite_Aid_OMDL_23456-457 69
   19                                                21   Rite Aid-Ringgold
   20                                                     Exhibit-7 Rite_Aid_OMDL_0012020-021 79
   21                                                22
   22                                                     Rite Aid-Ringgold
   23                                                23   Exhibit-8 Rite_Aid_OMDL_0011115-116 90
   24                                                24

                                            Page 3                                          Page 5
    1   APPEARANCES: (Continued)                      1             - - -
    2   VIA TELEPHONE/LIVESTREAM:                     2           EXHIBITS
    3
    4       GIBBONS PC                                3             - - -
            BY: PAUL E. ASFENDIS, ESQUIRE             4   NO.       DESCRIPTION        PAGE
    5       One Pennsylvania Plaza
            37th Floor                                5   Rite Aid-Ringgold
    6       New York, New York 10119                      Exhibit-9 Rite_Aid_OMDL_0003108-109 95
            (212) 613-2000                            6
    7       Pasfendis@gibbonslaw.com
            Representing the Defendant,                   Rite Aid-Ringgold
    8       AmerisourceBergen Corporation             7   Exhibit-10 Rite_Aid_OMDL_0010795-796 100
    9
   10                                                 8   Rite Aid-Ringgold
            JONES DAY                                     Exhibit-11 Rite_Aid_OMDL_0003562    111
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            77 West Wacker
   12       Chicago, Illinois 60601                  10
            (312) 782-3939                           11
   13       Jzhou@jonesday.com                       12
            Representing the Defendant,
   14       Walmart                                  13
   15
                                                     14
   16
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   17       BY: JOHN D. LOMBARDO, ESQUIRE            16
            44th Floor                               17
   18       777 South Figueroa Street
            Los Angeles, California 90017            18
   19       (213) 243-4000                           19
            John.lombardo@arnoldporter.com
   20       Representing the Defendant,              20
            Endo Pharmaceuticals, Endo Health,       21
   21       and Par Pharmaceuticals
   22                                                22
   23   ALSO PRESENT:                                23
        Dan Lawlor, Videographer                     24
   24   Jeff Sayres, Trial Technician
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    1           - - -                                   1        on the stenographic record. The
    2       DEPOSITION SUPPORT INDEX                    2        court reporter is Amanda Miller
    3           - - -                                   3        and will now swear in the witness.
    4                                                   4                - - -
    5   Direction to Witness Not to Answer              5             LARRY RINGGOLD, after having
    6   Page Line Page Line Page Line                   6        been duly sworn, was examined and
    7   None                                            7        testified as follows:
    8                                                   8                - - -
    9                                                   9              EXAMINATION
   10   Request for Production of Documents            10                - - -
   11   Page Line Page Line Page Line                  11   BY MR. POWERS:
   12   None                                           12        Q. Good evening, Mr. Ringgold.
   13                                                  13   My name is Will Powers, and I represent
   14                                                  14   the plaintiffs in this litigation.
   15   Stipulations                                   15             Before we get started, can
   16   Page Line Page Line     Page Line              16   you please just state your full name and
   17   7    1                                         17   spell it for the record?
   18                                                  18        A. Larry Ringgold, Junior,
   19                                                  19   L-A-R-R-Y, R-I-N-G-G-O-L-D.
   20   Question Marked                                20        Q. And we're here for your
   21   Page Line Page Line     Page Line              21   deposition today.
   22   None                                           22             Do you understand that?
   23                                                  23        A. Yes.
   24                                                  24        Q. Have you ever been deposed
                                              Page 7                                               Page 9
    1               - - -                               1   before?
    2           (It is hereby stipulated and            2        A. No.
    3       agreed by and among counsel that            3        Q. I want to just go over a
    4       sealing, filing and certification           4   couple of ground rules before we get
    5       are waived; and that all                    5   started to make sure we're all on the
    6       objections, except as to the form           6   same page.
    7       of the question, will be reserved           7            Because the court reporter
    8       until the time of trial.)                   8   is writing down what is being said, it's
    9              - - -                                9   important that only one of us is speaking
   10           VIDEO TECHNICIAN: We are               10   at a time. So even if you think you know
   11       now on the record. My name Ray             11   where I'm going with a question, please
   12       Moore, I'm a videographer for              12   don't jump in. We want to make sure I
   13       Golkow Litigation Services.                13   finish my question before you answer --
   14       Today's date is January 24, 2019,          14   give your answer, and I'll let you give
   15       and the time is 5:01 p.m.                  15   your answer before I ask the question.
   16           This video deposition is               16            Is that okay?
   17       being held in Bel Air, Maryland,           17        A. Yes.
   18       in the matter In Re National               18        Q. And also, when you're
   19       Prescription Opiate Litigation for         19   answering my questions, I need verbal
   20       the United States District Court           20   answers; so no nods of the head, shrugs
   21       for the Northern District of Ohio,         21   of the shoulders, uh-huh or uh-uh, stuff
   22       Eastern Division, MDL Number 2804.         22   like that.
   23           The deponent is Larry                  23            Is that all right?
   24       Ringgold. Counsel will be noted            24        A. That's all right.
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    1        Q. And if for any reason you                 1   you need them. But if you have a
    2   don't understand a question or it                 2   question pending while -- I need you to
    3   requires some sort of clarification, you          3   answer that question before we take the
    4   have to tell me, and we can get that              4   break.
    5   matter resolved before you answer the             5            Is that okay?
    6   question.                                         6        A. Yes.
    7            Is that okay?                            7            MR. LAVELLE: The witness
    8        A. Yes.                                      8        reserves the right to consult with
    9        Q. So I'll assume, then, if you              9        counsel on issues of privilege.
   10   answer a question, you understand my             10   BY MR. POWERS:
   11   question.                                        11        Q. Okay, Mr. Ringgold. I want
   12            Is that all right?                      12   to start with your educational
   13        A. Yes.                                     13   background.
   14        Q. Are you currently suffering              14            Did you complete high
   15   from any medical diseases or illnesses           15   school?
   16   that in any way interfere with your              16        A. Yes.
   17   ability to answer truthfully and                 17        Q. Where did you complete high
   18   completely my questions here tonight?            18   school?
   19        A. No.                                      19        A. Aberdeen Senior High School.
   20        Q. And I just ask that you keep             20        Q. And what year was that?
   21   your voice up a little bit, because              21        A. 1985.
   22   everything is being recorded as well,            22        Q. Any education beyond high
   23   okay?                                            23   school?
   24        A. Yes.                                     24        A. Yes.
                                               Page 11                                             Page 13
    1        Q. Are you currently taking any              1         Q. What education do you have
    2   medication or drugs that may in any way           2   beyond high school?
    3   interfere with your ability to answer my          3         A. Some years at Bowie State
    4   questions truthfully and completely?              4   University.
    5        A. No.                                       5         Q. And that's spelled
    6        Q. And do you understand the                 6   B-O-W-I-E, right?
    7   court reporter has sworn you in and               7         A. Yes, sir.
    8   you're under oath here today just as you          8         Q. Did you get a degree from
    9   would be in a courtroom at trial?                 9   Bowie State?
   10        A. Yes.                                     10         A. I didn't finish, no.
   11        Q. And because you are under                11         Q. Did you ever complete a
   12   oath, if you lie or provide intentionally        12   college degree?
   13   misleading answers, you may be subject to        13         A. No.
   14   criminal or civil penalties.                     14         Q. Besides your years at Bowie
   15            Do you understand that?                 15   State, any other education beyond high
   16        A. Yes.                                     16   school?
   17        Q. And your counsel may, from               17         A. Just military, military
   18   time to time, object. But I'm still              18   stuff.
   19   entitled to answer to my question, unless        19         Q. When were you in the
   20   your counsel specifically instructs you          20   military?
   21   not to answer.                                   21         A. From 1990 to 1998.
   22            Do you understand that?                 22         Q. What did you do after you
   23        A. Yes.                                     23   left the military in 1998?
   24        Q. And we can take breaks when              24         A. I think I worked at, in
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    1   19 -- when I got out -- I think while I        1   that would be?
    2   was still in, I was still working, it was      2         A. I'm just thinking, I mean,
    3   the Army National Guard. So I worked at        3   just general stuff with the job. They
    4   The Gap.                                       4   would send us on little stuff. I can't
    5        Q. So just to be clear, when              5   really recall at the moment.
    6   you're in the military, you were with the      6         Q. Any education on controlled
    7   Army National Guard?                           7   substances?
    8        A. Yes, sir.                              8         A. Education on controlled
    9        Q. And you also had employment            9   substances? The only thing we did do a
   10   at The Gap while you were concurrently        10   DEA -- like a little thing they sent us
   11   employed with the Army National Guard?        11   to, I think it was Fort Lauderdale once.
   12        A. Yes.                                  12         Q. And who is "they"?
   13        Q. And you said you had some             13         A. The job.
   14   education while you were in the military.     14         Q. When you say "the job," you
   15             What was the nature of that         15   mean your job at --
   16   education?                                    16         A. Rite Aid.
   17        A. I worked on the Arcola                17         Q. -- Rite Aid?
   18   helicopter weapon systems. So they would      18             MR. LAVELLE: And just wait
   19   send us out to different schools, and we      19         until the question is finished
   20   would do different things in Texas to         20         before you answer the question.
   21   kind of keep us up to speed on different      21             THE WITNESS: Yes, sir.
   22   electronics and troubleshooting the           22   BY MR. POWERS:
   23   aircraft.                                     23         Q. So besides what you just
   24        Q. Any other education that we           24   talked about there when you were with
                                            Page 15                                              Page 17
    1   have not talked about yet?                     1   Rite Aid, any other education about
    2        A. Not that I can recall. I               2   controlled substances prior to joining
    3   have some other stuff that I'm missing,        3   Rite Aid?
    4   but that's basically it.                       4         A. No.
    5            MR. LOMBARDO: Apologies for           5         Q. And when did you join Rite
    6        the interruption. The telephone           6   Aid?
    7        is not picking up the witness's           7         A. September of 2000.
    8        testimony. Is there a mic near            8         Q. And you mentioned previously
    9        the witness?                              9   there that they, meaning Rite Aid, sent
   10               - - -                             10   you to Fort Lauderdale once.
   11            (Whereupon, a discussion off         11            When was that?
   12        the record occurred.)                    12         A. I don't remember. It was a
   13               - - -                             13   long time ago.
   14   BY MR. POWERS:                                14         Q. More than ten years ago?
   15        Q. So, Mr. Ringgold, as you              15         A. Possibly.
   16   just heard, I think we both have to just      16         Q. And why did Rite Aid send
   17   keep our voices up a little bit so            17   you to Fort Lauderdale?
   18   everyone on the phone can hear.               18         A. It was a DEA conference.
   19            Is that okay?                        19   Just to get the experience of being
   20        A. Yes.                                  20   around some of the DEA and things like
   21        Q. You said that there might             21   that.
   22   be -- might be some other education that      22         Q. Did anyone else go with you
   23   you might be missing.                         23   to this conference from Rite Aid?
   24            Do you have any idea what            24         A. They meaning who?
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    1        Q. You said you went to a DEA             1        remember.
    2   conference in Fort Lauderdale.                 2   BY MR. POWERS:
    3            Did anyone else from Rite             3        Q. Do you know, when you went
    4   Aid come with you to go to that DEA --         4   back to your job at Rite Aid, did you
    5        A. Yes.                                   5   talk to anyone about what you saw at the
    6        Q. -- conference?                         6   conference?
    7            Let me finish my question.            7        A. No.
    8   I know you know where I'm going with it,       8        Q. Did you go to any other
    9   but just let me finish and then you can        9   conferences put on by Buzzeo besides the
   10   answer, okay?                                 10   one in Fort Lauderdale?
   11        A. Yes.                                  11        A. No.
   12        Q. So let me ask that again.             12        Q. Did you go to any other
   13            The DEA conference that Rite         13   conferences where the DEA had a presence?
   14   Aid sent you to in Fort Lauderdale, did       14        A. No.
   15   anyone else from Rite Aid come with you?      15        Q. Did you talk to any DEA
   16        A. Yes.                                  16   agents at the Buzzeo conference in Fort
   17        Q. Who?                                  17   Lauderdale?
   18        A. Debra Chase.                          18        A. No.
   19        Q. And who is Debra Chase?               19        Q. Do you know if Debra Chase
   20        A. At the time, Debra Chase was          20   talked to any DEA agents at the
   21   DEA coordinator for the Rx department.        21   conference in Fort Lauderdale?
   22        Q. And you called it a DEA               22        A. I would not know that.
   23   conference.                                   23        Q. Did you ever go to any other
   24            Was it a conference that was         24   conferences as part of your job duties at
                                            Page 19                                            Page 21
    1   put on by the DEA?                             1   Rite Aid?
    2        A. They did have actual DEA               2         A. Yes.
    3   folks there. We wasn't privy to that.          3         Q. Can you give me an example?
    4   We was with the -- I guess the store           4         A. My -- I went to a conference
    5   side, not the actual DEA.                      5   in, I think, Virginia. And that was on
    6            I think the gentleman's name          6   the lines of -- if I can recollect, on
    7   was Mr. Buzzeo who was in charge of the        7   the lines of, I guess, pharmacists
    8   conference, which somehow he was               8   stealing product, writing scripts or
    9   connected with Rite Aid.                       9   something, people -- you know, something
   10        Q. What kind of topics were              10   along that line.
   11   discussed at the DEA conference you went      11             That was a while ago, too.
   12   to?                                           12         Q. Was that also over ten years
   13        A. I don't remember.                     13   ago?
   14        Q. Did you get any written               14         A. That was probably, if I
   15   materials from that conference?               15   would have to say, 2008, maybe; '07 or
   16        A. I don't remember. It's been           16   '08.
   17   so long.                                      17         Q. And you referred to the
   18        Q. Do you remember, just                 18   conference in Fort Lauderdale as a
   19   generally, what the topics were at the        19   conference put on by Buzzeo.
   20   DEA conference?                               20             Do you know who the VA --
   21            MR. LAVELLE: Object to               21   the Virginia conference was put on by?
   22        form. Objection. Asked and               22         A. I don't remember.
   23        answered.                                23         Q. Who else was at that
   24            THE WITNESS: I don't                 24   conference with you from Rite Aid?
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    1       A. Rick Snyder.                               1        A. Right, at my job.
    2       Q. Who is Rick Snyder?                        2        Q. At the Perryman distribution
    3       A. Rick Snyder was one of the                 3   center?
    4   leads, at the time, for security.                 4        A. Yes. We have a security,
    5       Q. Was he working at the                      5   like a middle meeting area, we left the
    6   Perryman distribution center?                     6   information in case anybody wanted to
    7       A. Yes.                                       7   look at it. That was about it.
    8       Q. Anyone else besides Rick                   8        Q. Did you ever talk to anyone
    9   Snyder go to that conference with you?            9   about what you learned at that conference
   10       A. Yes.                                      10   in Virginia?
   11       Q. Who else?                                 11        A. No.
   12       A. Ms. Joyce Sweitzer.                       12        Q. Do you know what those
   13       Q. And who is Joyce --                       13   brochures that you left in the middle
   14       A. She was --                                14   area were about?
   15       Q. -- Sweitzer?                              15        A. I believe, like I said, it
   16            MR. LAVELLE: Wait until the             16   was about information on people that
   17       question is finished before you              17   would try to get extra scripts. That's
   18       answer.                                      18   about all I can remember of that.
   19            THE WITNESS: Go ahead.                  19            As I say, that's been a
   20   BY MR. POWERS:                                   20   while ago as well.
   21       Q. Who is Joyce Sweitzer?                    21        Q. So you said that you started
   22       A. They was the asset                        22   working at Rite Aid in September of 2000,
   23   protection manager.                              23   right?
   24       Q. And was that also for the                 24        A. Yes.
                                               Page 23                                              Page 25
    1   Perryman distribution center?                     1         Q. And are you currently still
    2        A. Yes.                                      2   employed by Rite Aid?
    3        Q. Anyone else besides Rick                  3         A. Yes, I am.
    4   Snyder and Joyce Sweitzer?                        4         Q. And from September 2000
    5        A. No.                                       5   until current, have you always worked at
    6        Q. Besides the conference down               6   the Perryman distribution center?
    7   in Virginia and the Fort Lauderdale               7         A. Yes.
    8   conferences, any other conferences you            8         Q. What was your title when you
    9   went to as a Rite Aid employee?                   9   first started at the Perryman
   10        A. No.                                      10   distribution center?
   11        Q. Did you receive any written              11         A. Security associate.
   12   materials from the conference that you           12         Q. How long did you hold the
   13   went to in Virginia?                             13   position of security associate?
   14        A. Yes.                                     14         A. If I can recollect, maybe
   15        Q. What kind of written                     15   six months.
   16   materials did you get?                           16         Q. After security associate,
   17        A. Some printouts, brochures.               17   did you have a different position?
   18        Q. What did you do with those               18         A. Yes.
   19   written materials?                               19         Q. What was that position?
   20        A. We left them at the middle               20         A. They created a position
   21   office, we call it, if anybody wanted to         21   called DEA coordinator for security.
   22   take a look at any of that material.             22         Q. How long were you the DEA
   23        Q. You say you left them at the             23   coordinator for security?
   24   middle office?                                   24         A. I want to say 2001 until
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    1   present.                                        1       A. Yes.
    2         Q. Have you ever had any                  2       Q. So from 2002 to 2016, you
    3   different titles besides security               3   were both a security lead and the DEA
    4   associate or DEA coordinator for                4   coordinator for security, right?
    5   security?                                       5       A. Yes.
    6         A. Yes.                                   6       Q. Any other titles besides the
    7         Q. What other titles have you             7   ones we've already talked about?
    8   had?                                            8       A. No, sir.
    9         A. Lead.                                  9       Q. As the DEA coordinator for
   10         Q. And the title is just lead?           10   security, who did you report to?
   11   There's no --                                  11       A. Still to my boss, which was
   12         A. Security lead.                        12   Nathan Williams at the time.
   13         Q. Security lead, okay.                  13       Q. Was Nathan Williams your
   14         A. Yes.                                  14   boss the entire time you were a DEA
   15         Q. When did you first get the            15   coordinator for security?
   16   title of security lead?                        16       A. No.
   17         A. 2002.                                 17       Q. Who else was your boss?
   18         Q. How long were you a security          18       A. A gentleman named Joseph
   19   lead for?                                      19   Beck.
   20         A. Pretty much up until the --           20       Q. Anybody else?
   21   well, we got the -- we got promoted maybe      21       A. Joyce Sweitzer.
   22   two years ago. So I would say from 2002        22       Q. Besides Williams, Beck and
   23   to 2016, maybe.                                23   Sweitzer, anyone else?
   24         Q. You said "we got promoted,"           24       A. In security, I think that
                                             Page 27                                                Page 29
    1   what are -- who are you referring to            1   should be it.
    2   when --                                         2        Q. Did you report to anyone
    3       A. Everybody. Because we went               3   different as a security lead?
    4   from leads to supervisors.                      4        A. No.
    5       Q. So everyone who was a                    5        Q. What department in the
    6   security lead got promoted to security          6   distribution center were you a part of as
    7   supervisor around 2016?                         7   a DEA coordinator for security?
    8       A. Yes, sir.                                8        A. Could you repeat the
    9       Q. Why was that?                            9   question, please?
   10       A. They did a change and                   10        Q. Sure.
   11   decided to do without the leads                11            What department were you a
   12   throughout the whole facility. So for          12   part of as the DEA coordinator for
   13   security, they changed us to -- from           13   security?
   14   leads to supervisors.                          14        A. Security.
   15       Q. So you were both a security             15        Q. There's a department called
   16   lead and the DEA coordinator for security      16   the security department at the
   17   from 2002 until around 2016?                   17   distribution center?
   18       A. Until present.                          18            MR. LAVELLE: Object to
   19       Q. Well, you're not a security             19        form.
   20   lead any more, you're a security               20            THE WITNESS: The security
   21   supervisor, right?                             21        department. Asset protection now.
   22       A. Yes, sir.                               22   BY MR. POWERS:
   23       Q. So you stopped being a                  23        Q. Do you know when it switched
   24   security lead in 2016, correct?                24   from security to asset protection?
   Golkow Litigation Services                                                    Page 8 (26 - 29)
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                                              Page 30                                             Page 32
    1        A. I don't remember.                        1        Q. So when Kevin Mitchell
    2        Q. Are there other people who               2   trained you for your job as DEA
    3   have held the role of DEA coordinator for        3   coordinator for security, how did he do
    4   security at the Perryman distribution            4   that?
    5   center?                                          5        A. Through phone calls.
    6        A. No.                                      6   Through Joe Beck, with information that
    7        Q. You're the only one who has              7   Joe Beck had gotten from Kevin Mitchell.
    8   that title?                                      8   Other information, just what he told us,
    9        A. Yes.                                     9   hey, this is what we needed to do, kind
   10        Q. How about security lead,                10   of verbal.
   11   does anyone else have the title of              11            And then through mock --
   12   security lead for the period of 2002            12   through mock -- mock -- what's it called,
   13   through 2016?                                   13   the word I'm looking for? Mock
   14        A. Yes.                                    14   inspections, things like that.
   15        Q. Who else were the security              15        Q. Did you ever receive any
   16   leads?                                          16   written training materials from Kevin
   17        A. All right. You're going --              17   Mitchell or Joe Beck?
   18   I got to go back.                               18        A. Not that I can recall.
   19        Q. The ones you can remember.              19        Q. Did Kevin Mitchell ever come
   20        A. Okay. Ronald Welsh, Derrick             20   in person to the Perryman distribution
   21   Johnson, Howard Johnson, Richard Snyder,        21   center for your training?
   22   Jesse Jones.                                    22        A. Yes.
   23             Let's see, who else can I             23        Q. How about your training with
   24   remember? Cindy Smith.                          24   Joe Beck, how did Joe Beck train you for
                                              Page 31                                             Page 33
    1            That's all I can remember.              1   your job as the DEA coordinator for
    2        Q. When you started your job as             2   security?
    3   the DEA coordinator for security, how            3        A. At the time, it was all kind
    4   were you trained for your -- for that            4   of new. We was kind of preparing for
    5   job?                                             5   when DEA would come. So a lot was
    6        A. I was partnered up with                  6   verbal. Information that I believe he
    7   Kevin Mitchell.                                  7   received from Kevin Mitchell.
    8        Q. And who is Kevin Mitchell?               8        Q. Did Joe Beck ever give any
    9        A. At the time, Kevin Mitchell              9   written materials about how to perform
   10   was the DEA for corporate.                      10   your job?
   11        Q. Kevin Mitchell worked in the            11        A. I don't remember. He
   12   corporate office, not the distribution          12   possibly did. He could have.
   13   center; is that right?                          13        Q. And besides when you first
   14        A. Yes, sir.                               14   started as the DEA coordinator for
   15        Q. How did Kevin Mitchell train            15   security, did you receive any other
   16   you for your job as the DEA coordinator         16   trainings about how to perform your job
   17   for security?                                   17   duties?
   18        A. Also, Joe Beck.                         18        A. I got some hands-on, later
   19        Q. Besides Kevin Mitchell and              19   on, from Nathan Williams.
   20   Joe Beck, anyone else train you for your        20        Q. And when you say you "got
   21   job?                                            21   some hands-on," is that hands-on
   22        A. No.                                     22   training?
   23        Q. Who was Joe Beck?                       23        A. Yes.
   24        A. Joe Beck was my supervisor.             24        Q. And by "hands-on training,"
   Golkow Litigation Services                                                    Page 9 (30 - 33)
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                                               Page 34                                              Page 36
     1   what do you mean?                                1   recall.
     2        A. Investigation for shortages.             2        Q. Did you get any new training
     3        Q. How did Nathan Williams                  3   when you became a security supervisor?
     4   train you on investigating shortages?            4        A. No.
     5        A. He showed us how to start an             5        Q. What were your job
     6   investigation, step by step. So --               6   responsibilities for your time as a DEA
     7   because he -- being the asset protection         7   coordinator for security?
     8   manager, he was in charge of a lot of the        8        A. Just we had to do any
     9   investigations.                                  9   shortages that came from the stores, if
    10            But he partnered up myself             10   they was a product or two short, they
    11   and other folks so we could learn. So           11   would call customer service. Customer
    12   later on down the road, that became --          12   service would then call Rx. Rx would
    13   that became part of what we did, as far         13   call us and say, hey, can you guys look
    14   as our investigations.                          14   to see if, possibly, where the product
    15        Q. Did you ever receive any                15   went or to show that we did actually send
    16   written materials from Nathan Williams          16   what we was supposed to send to the
    17   about how to do investigations?                 17   stores.
    18        A. I don't remember.                       18            That's what -- that's what I
    19        Q. Were there any standard                 19   did.
    20   policies and procedures that you used           20        Q. Besides the investigation of
    21   during your job as a DEA coordinator for        21   the shortages from the stores, anything
    22   security?                                       22   else you did as DEA coordinator for
    23        A. Repeat the question, please.            23   security?
    24        Q. Sure.                                   24        A. Meaning? Could you
                                               Page 35                                              Page 37
     1            Were there any standard                 1   elaborate a little bit more on that, or
     2   policies and procedures that you used            2   repeat it?
     3   during your job as a DEA coordinator for         3        Q. Sure.
     4   security?                                        4            MR. POWERS: I'm sorry.
     5        A. I believe so.                            5        Someone on the phone needs to mute
     6        Q. What were those?                         6        their line. Thank you.
     7        A. I don't remember.                        7   BY MR. POWERS:
     8        Q. Do you still use those                   8        Q. So you said one of your job
     9   today?                                           9   responsibilities as the DEA coordinator
    10        A. We don't really do much with            10   for security was to investigate shortages
    11   the investigations anymore, when it comes       11   from stores, right?
    12   to -- because there's no drugs,                 12        A. Yes.
    13   controlled.                                     13        Q. What else did you do as DEA
    14        Q. Are you referring to the                14   coordinator for security?
    15   fact that Rite Aid stopped distributing         15        A. We did monthly motion tests.
    16   controlled substances in 2014?                  16        Q. Anything else besides those
    17        A. Yes.                                    17   two things?
    18        Q. And we talked about your                18        A. My role was small. Monthly
    19   training as the DEA coordinator for             19   motion tests. Like I said, shortages we
    20   security.                                       20   would check out.
    21            Did you receive different              21            That was pretty much it.
    22   training for the position of security           22   Mainly, like, compliance stuff.
    23   lead?                                           23        Q. As a security lead, what
    24        A. It's been so long, I can't              24   were your job responsibilities?
   Golkow Litigation Services                                                    Page 10 (34 - 37)
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     1        A. To run the day-to-day of the            1       Q.     Below it, it says, Security.
     2   shift.                                          2            Does that mean that you're
     3        Q. What does that mean, "run               3   in the security department?
     4   the day-to-day shift"?                          4        A. Yes.
     5        A. Make sure everybody was                 5        Q. And then it looks like it
     6   where they were supposed to be, either on       6   has a list of different procedures on the
     7   the block, front ops, making sure               7   left-hand side of the page there.
     8   everything was going good at the guard          8            Do you see those?
     9   station, make sure controls were being          9        A. I do.
    10   done.                                          10        Q. What are these different
    11        Q. The day-to-day shift of the            11   procedures representing on the left side
    12   security personnel, is that what --            12   of the page here?
    13        A. Security. Yes. I'm                     13        A. Well, as you see, background
    14   referring to security.                         14   check, monitoring, drug diversion, these
    15        Q. Let me make sure I get that            15   were some of the things that you had to
    16   clearly on.                                    16   have some basic knowledge of, trash
    17            So when you say that you ran          17   removal, controlled cage inventory, et
    18   the day-to-day shift as the security           18   cetera.
    19   lead, you're referring to the day-to-day       19        Q. How come you have an NA in
    20   shift of the personnel involved with the       20   the post picking procedures row?
    21   security of the Perryman facility, right?      21        A. Probably because I don't
    22        A. That is correct.                       22   pick. I'm security. I -- we don't pick
    23        Q. I'm going to hand you what's           23   in Rx.
    24   been marked as Ringgold Exhibit-1. It's        24        Q. Is that the same reason why
                                              Page 39                                               Page 41
     1   Bates number Rite_Aid_OMDL_0049982              1   you have an NA in the Federal Express
     2   through 49993.                                  2   totes row?
     3                - - -                              3         A. Yes.
     4            (Whereupon,                            4         Q. And it looks like, back at
     5        Rite Aid-Ringgold Exhibit-1,               5   the top there, the background check row,
     6        Rite_Aid_OMDL_0049982-993, was             6   it looks like the date column says,
     7        marked for identification.)                7   7/30/2001.
     8               - - -                               8            Do you see that?
     9   BY MR. POWERS:                                  9         A. I do.
    10        Q. Just take a brief look at              10         Q. Does that mean you got your
    11   that and just let me know when you're          11   first background check in July 30th,
    12   done.                                          12   2001?
    13            Does this document,                   13         A. I couldn't say yes to that.
    14   Exhibit-1, look familiar to you?               14   I know a background check was done. I
    15        A. Yes, it does.                          15   could not say to the -- if that's the
    16        Q. What is the document                   16   first time or not.
    17   reflected in Exhibit-1?                        17         Q. How about the updates in the
    18        A. Checklist for certain areas.           18   next two columns over in that same row
    19        Q. I'll direct you to the first           19   about background checks, what do those
    20   page of Exhibit-1.                             20   two dates represent?
    21            It looks like it says your            21         A. According to the paper, it's
    22   name there in the blank for associate          22   background -- it says, Background checks
    23   name at the top, right?                        23   with the dates.
    24        A. Yes, sir.                              24         Q. Did you get a background
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     1   check on any set schedule?                        1            THE WITNESS: It's been so
     2        A. I believe -- I believe so.                2         long, I don't remember, to be
     3        Q. Do you know what that                     3         honest.
     4   schedule was?                                     4   BY MR. POWERS:
     5        A. I do not.                                 5         Q. It looks like the first page
     6        Q. Do you know why there was a               6   of Exhibit-1 has dates back as far as
     7   seven-year gap in between your background         7   2001, right?
     8   check in 2001 and your update in 2008?            8         A. On the first page?
     9        A. I do not.                                 9         Q. Correct.
    10        Q. Who was in charge of running             10         A. Drug diversion, yes, I see
    11   the background checks?                           11   that.
    12        A. At the time, Keith Ross,                 12         Q. Any reason why you did not
    13   Marian Wood. And they would partner, I           13   sign the above-average monitoring until
    14   guess, with HR.                                  14   2010?
    15            I wasn't privy to any of                15         A. I do not know why, no.
    16   that. I just knew, hey, background check         16         Q. And then the next row there
    17   had to be done.                                  17   says, Drug diversion.
    18        Q. And the next row down says,              18            Do you see that?
    19   Above-average monitoring. And it looks           19         A. I do.
    20   like the first date there is January             20         Q. What is drug diversion?
    21   26th, 2010.                                      21         A. I don't remember.
    22            Do you see that?                        22         Q. Do you remember the contents
    23        A. I do.                                    23   of drug diversion generally?
    24        Q. Why did you fill out the                 24         A. It means stealing.
                                                Page 43                                             Page 45
     1   above-average monitoring procedure?               1        Q. Does drug diversion mean
     2         A. I did not fill that out.                 2   anything to you besides stealing of
     3         Q. Yes, sorry. That was a bad               3   controlled substances?
     4   phrasing.                                         4        A. No.
     5            It looks like, on the second             5        Q. Are you aware of anyone,
     6   page of Exhibit-1, that's actually an             6   during your time at Rite Aid, who was
     7   acknowledgment that you read and                  7   disciplined for stealing controlled
     8   understand the above-average order                8   substances?
     9   monitoring program, and it's the same             9        A. I do recall a gentleman,
    10   date, January 26th, 2010.                        10   don't remember his name, don't remember
    11            Do you see that?                        11   the year, he got in trouble for -- it
    12         A. Yes, I do.                              12   wasn't in the cage, though, he was
    13         Q. Why did you sign this form              13   stealing Viagra.
    14   on the second page of Exhibit-1?                 14        Q. Anyone else you can recall
    15         A. I believe we had to read                15   that was stealing controlled substances?
    16   something dealing with -- saying that            16        A. No. Another lady took some
    17   monitoring -- and monitoring program             17   Viagra. That was about it.
    18   meaning as far as cameras, camera                18        Q. And it looks like there's a
    19   coverage, to my understanding.                   19   bunch of different procedures on this
    20         Q. Do you know if 2010 was the             20   page.
    21   first time you signed a form like the one        21            Do you know if anyone got in
    22   here in the second page of Exhibit-1?            22   trouble for not following the
    23            MR. LAVELLE: Object to                  23   above-average monitoring procedure?
    24         form.                                      24        A. I wasn't privy to that, so I
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     1   do not know.                                   1            Do you see that?
     2       Q. You can put that exhibit                2        A. I do.
     3   aside.                                         3        Q. What is the weekly case
     4               - - -                              4   track.xls?
     5           (Whereupon,                            5        A. Some -- he asked me to keep
     6       Rite Aid-Ringgold Exhibit-2,               6   track and keep him updated weekly on
     7       Rite_Aid_OMDL_0032421, was marked          7   shortage cases.
     8       for identification.)                       8        Q. And the weekly case track is
     9               - - -                              9   what is reflected in Exhibit-3, right?
    10           (Whereupon,                           10        A. Exhibit-3?
    11       Rite Aid-Ringgold Exhibit-3,              11        Q. Yeah, the one with the
    12       Rite_Aid_OMDL_0032422, was marked         12   colorful graph on the front page.
    13       for identification.)                      13        A. Can I take a look?
    14              - - -                              14        Q. Sure.
    15   BY MR. POWERS:                                15        A. Yes.
    16       Q. I'm going to hand you next             16        Q. Can you explain to me what's
    17   what's been marked as Exhibits-2 and 3.       17   the information that's on the first page
    18   The first exhibit, Exhibit-2, is Bates        18   of Exhibit-3? The very first page with
    19   stamped Rite_Aid_OMDL_0032421. And then       19   the graph on it.
    20   Exhibit-3, which is the e-mail attachment     20        A. I don't know what that is,
    21   to Exhibit-2, is Bates stamped                21   but it looks like it might be the number
    22   Rite_Aid_OMDL_0032422.                        22   of cases, possibly.
    23           And the Exhibit-3 is -- has           23        Q. Did you create this
    24   a bunch of pages. I'm just going to ask       24   weekly -- I forget the name now -- the
                                             Page 47                                               Page 49
     1   you about a couple of questions -- I'm         1   weekly case track?
     2   just going to ask you a couple of              2         A. I don't remember if I
     3   questions about a couple particular            3   created it or if my boss created it for
     4   pages.                                         4   me to input.
     5            So in Exhibit-2, the cover            5         Q. When you say "your boss"
     6   e-mail that you have in front of you --        6   there, you're referring to Nathan
     7         A. Yes.                                  7   Williams?
     8         Q. -- it looks like it's an              8         A. Nathan Williams.
     9   e-mail from you to Nathan Williams,            9         Q. So you don't know what the
    10   correct?                                      10   first page of Exhibit-3 represents?
    11         A. Nathan Williams to myself,           11         A. Well, this first page was
    12   yes. Oh, no, it's from me, yes.               12   not created by me.
    13         Q. So it's an e-mail from you           13         Q. Turning to the second and
    14   to Nathan Williams, right?                    14   third pages -- let's look at the third
    15         A. Yes.                                 15   page. It has a little 3 in the bottom
    16         Q. And it looks like you sent           16   right-hand corner.
    17   it in 2011, December 16th, right?             17         A. Which one?
    18         A. Yes, sir.                            18             MR. LAVELLE: This one. You
    19         Q. And Nathan Williams would            19         got it.
    20   have been your manager at this time?          20             THE WITNESS: Okay.
    21         A. Yes.                                 21   BY MR. POWERS:
    22         Q. And it looks like you                22         Q. Can you explain to me what
    23   attached a document entitled Weekly Case      23   this particular page represents?
    24   Track.xls.                                    24         A. Weekly investigation
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     1   tracking sheet, meaning for that week,           1   time limit on trying to close cases.
     2   store numbers, as it explains, dates             2        Q. Those would be shortage
     3   received, the product, shortage claim,           3   claim cases?
     4   pending date, open or close.                     4        A. Yes.
     5        Q. So the store number there                5        Q. What was the time limit to
     6   all the way in the left column would be          6   close those?
     7   the store that this particular row               7        A. I believe we had 48 hours.
     8   pertains to?                                     8        Q. And what did you do to close
     9        A. Yes.                                     9   a shortage claim case?
    10        Q. And what does the date                  10        A. Just investigate.
    11   received column show?                           11        Q. What did you do to
    12        A. The date received.                      12   investigate?
    13        Q. At the store itself?                    13        A. I would start getting
    14        A. That's probably the date                14   information from either Debra Chase,
    15   that we received it, meaning security.          15   Marian Woods or Keith Frost.
    16        Q. When you received it, what              16        Q. What kind of information
    17   do you mean by "it"?                            17   would you get from those individuals?
    18        A. The shortage claim.                     18        A. Who picked, who was the
    19        Q. And the product name is just            19   person that picked it, who was the person
    20   the product that the shortage claim is          20   that inventoried it at the desk.
    21   for, right?
    22        A. Yes.
    23        Q. And that looks like
    24   hydrocodone/AP?
                                               Page 51                                              Page 53
     1        A. Hydrocodone/APAP, yes.
     2        Q. And that's a hydrocodone
     3   combination product; is that right?
     4        A. I believe so.
     5        Q. And the next column over,
     6   shortage claim, what does that negative 2
     7   in that column represent?
     8        A. The number that was -- that
     9   the store claimed to be short.                   9        Q. So when you have an X in the
    10        Q. What is the unit being used             10   column closed here on Page 3 of
    11   there in the shortage claim column?             11   Exhibit-3, what does the X there mean in
    12        A. Excuse me?                              12   the closed column?
    13        Q. So it says negative 2,                  13        A. Meaning we were done.
    14   right?                                          14   Meaning, we close it out on the security
    15        A. Yes.                                    15   side.
    16        Q. Negative 2 what?                        16        Q. Does that mean you found the
    17        A. I guess bottles or                      17   missing product?
    18   whatever -- however it was packaged, the        18        A. On that particular one, I
    19   products.                                       19   can't -- I could not say yes or no to.
    20        Q. And then the next columns               20   But it was closed out on our end.
    21   over, pending, date open and closed, what       21        Q. Where would you find the
    22   do those columns represent?                     22   information about how this was closed
    23        A. Just the dates it was closed            23   out?
    24   or if it was still open, because we had a       24        A. Repeat that question,
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     1   please.                                         1       A.    I can't remember.
     2        Q. Yes. Maybe it wasn't the                2            But I'm sure if I was out,
     3   best question.                                  3   my boss -- I mean, they still -- things
     4            So it's marked closed on               4   still have to go on if I'm not there,
     5   this tracking sheet. Where would I find         5   so --
     6   the information about how this particular       6         Q. And what did you use these
     7   claim for negative 2 bottles of                 7   tracking sheets for after they were
     8   hydrocodone/APAP went?                          8   filled out?
     9        A. Where it went? Normally, if             9         A. I didn't use them for
    10   I can go back in my memory, I believe          10   anything.
    11   when I say closed, meaning it was found.       11         Q. Do you know if your boss
    12        Q. Was there any record of                12   used them for anything?
    13   where the -- where the product was found,      13         A. I could not say.
    14   besides just the information here that it      14         Q. Do you know if anyone else
    15   was closed?                                    15   used them for anything?
    16        A. I don't remember.                      16         A. I could not say. I would
    17        Q. In the next row down, it               17   not know.
    18   looks like it's for Store 7766?                18         Q. So besides just filling
    19        A. Yes.                                   19   these out, that's your involvement with
    20        Q. And over in the shortage               20   them?
    21   claim column, it says, One each, and in        21         A. Yes. Like I said, my role
    22   parentheses, Rx overstock.                     22   was small. Yes.
    23            Do you see that?                      23         Q. You can put that exhibit
    24        A. I do.                                  24   over to the side, Mr. Ringgold.
                                              Page 55                                              Page 57
     1        Q. What does that mean?                    1               - - -
     2        A. That might have been the                2             (Whereupon,
     3   area where it was. I don't remember.            3         Rite Aid-Ringgold Exhibit-4,
     4        Q. Would a positive number in              4         Rite_Aid_OMDL_0027551-552, was
     5   the shortage claim column here represent        5         marked for identification.)
     6   that the store got an extra unit of             6              - - -
     7   whatever the product name was?                  7   BY MR. POWERS:
     8        A. I don't remember.                       8         Q. I've got an Exhibit-4 here.
     9        Q. Do you still use these sort             9   And the Bates number on this exhibit is
    10   of weekly investigation tracking sheets?       10   Rite_Aid_OMDL_0027551 through 7552.
    11        A. No.                                    11             Go ahead and take a look at
    12        Q. When did you stop using                12   that.
    13   them?                                          13         A. Thank you.
    14        A. Once we stopped doing the              14         Q. So what I placed in front of
    15   drug investigations back in 2014.              15   you as Exhibit-4 appears to be an e-mail
    16        Q. So these weekly                        16   from Joyce Sweitzer to William Miller,
    17   investigation tracking sheets were only        17   Andrew Palmer, David Howery and copying
    18   for controlled drugs?                          18   Nathan Williams and Larry Ringgold.
    19        A. I can't remember.                      19             Do you see that?
    20        Q. Did you personally fill out            20         A. I do.
    21   these weekly investigation tracking            21         Q. I believe you said before
    22   sheets?                                        22   that Joyce Sweitzer was one of the
    23        A. Yes.                                   23   managers of loss prevention at the
    24        Q. Did anyone else?                       24   Aberdeen distribution center?
   Golkow Litigation Services                                                   Page 15 (54 - 57)
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     1        A. She was a senior, yes.                    1        form.
     2        Q. Would you have reported to                2            THE WITNESS: I wouldn't
     3   Joyce Sweitzer during this time frame in          3        know.
     4   2011?                                             4   BY MR. POWERS:
     5        A. Yes.                                      5        Q. You investigated the
     6        Q. Who are -- well, let me                   6   shortages, but you did not know who was
     7   start it this way, who is William Miller?         7   responsible for them?
     8        A. He was our direct boss from               8            MR. LAVELLE: Object to
     9   corporate. I can't remember his title at          9        form.
    10   the time, but I know he was above us.            10            THE WITNESS: That's
    11        Q. You said he was with                     11        correct.
    12   corporate.                                       12   BY MR. POWERS:
    13             So he would not have worked            13        Q. What department would have
    14   at the distribution center itself?               14   been responsible for the CD shortages?
    15        A. No, sir.                                 15            MR. LAVELLE: Object to
    16        Q. And who is Andrew Palmer?                16        form.
    17        A. I don't know.                            17            THE WITNESS: Rx.
    18        Q. How about David Howery, who              18   BY MR. POWERS:
    19   is that?                                         19        Q. When you say "Rx," you mean
    20        A. I don't know.                            20   the pharmacy department?
    21        Q. And it looks like Joyce's                21        A. Yes.
    22   e-mail says, Bill, Andy and David, please        22        Q. I'm sorry, you have to keep
    23   see below the reported CD shortages from         23   your voice up.
    24   November 2010 to present.                        24        A. Yes. Pharmacy.
                                                Page 59                                              Page 61
     1            What are "CD shortages"?                 1        Q. And Joyce says that the
     2        A. Controlled drug shortages.                2   losses, it looks like in the table below,
     3        Q. And then Joyce goes on to                 3   are concerning, right?
     4   say, These are concerning.                        4        A. That is correct.
     5            Do you see that?                         5        Q. Why were they concerning, if
     6        A. I do.                                     6   you know?
     7        Q. Weren't the controlled drug               7            MR. LAVELLE: Object to
     8   shortages part of your responsibility as          8        form.
     9   a security department member?                     9            THE WITNESS: It looks like
    10        A. Repeat that question.                    10        from the amount.
    11        Q. The controlled drug                      11   BY MR. POWERS:
    12   shortages would be something that fell           12        Q. Why do you say that?
    13   under your responsibility in the security        13        A. Just from reading the
    14   department, right?                               14   e-mail.
    15        A. It is no.                                15            But if you look, it says,
    16        Q. Who would have had those --              16   Deliveries were Fed Ex. So I guess
    17   responsibility for the controlled drug           17   that's the part that was concerning.
    18   shortages?                                       18        Q. Were these types of drugs
    19        A. We're not responsible for                19   not supposed to be delivered via Fed Ex?
    20   the shortages. We would investigate the          20        A. I wouldn't know.
    21   shortages.                                       21        Q. Who would know that?
    22        Q. Who was responsible for the              22        A. I wouldn't know.
    23   shortages, then?                                 23        Q. And you said the amounts
    24            MR. LAVELLE: Object to                  24   stuck out to you here on this e-mail,
   Golkow Litigation Services                                                     Page 16 (58 - 61)
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     1   right?                                           1   imagine.
     2        A. Not to me, no. This is                   2         Q. Okay. That's all. We're
     3   coming from Ms. Sweitzer.                        3   done with that exhibit.
     4        Q. And it looks like that at                4                 - - -
     5   least nine of the -- excuse me, seven of         5             (Whereupon,
     6   the nine on this particular list are             6         Rite Aid-Ringgold Exhibit-5,
     7   opioids, right?                                  7         Rite_Aid_OMDL_21461-463, was
     8        A. I believe so.                            8         marked for identification.)
     9        Q. How would I figure out if                9                - - -
    10   these particular orders were ever found?        10   BY MR. POWERS:
    11            MR. LAVELLE: Object to                 11         Q. I want to hand you what's
    12        form.                                      12   been marked as Exhibit-5. It is an
    13            THE WITNESS: These here, I             13   e-mail string, and the Bates number is
    14        wouldn't know. Ms. Joyce could             14   Rite_Aid_OMDL_21461 through 21463.
    15        have took -- could have handled            15             Take a second to review
    16        this. I don't know.                        16   that.
    17   BY MR. POWERS:                                  17         A. Thank you.
    18        Q. Do you know why she copied              18         Q. I'll direct your attention
    19   you on this e-mail?                             19   to the second-to-last page of Exhibit-5.
    20        A. I do not. Just to keep me               20             It looks like it's an e-mail
    21   in the loop.                                    21   from you. And it's sent October 28th,
    22        Q. And then in the column all              22   2009 to Joyce Sweitzer, Nathan Williams,
    23   the way to the right there, it says, 106        23   Kim Brown, Tahir Senoussa,
    24   filed.                                          24             @riteAid.com,            e@riteAid.com and
                                               Page 63                                                    Page 65
     1             Do you see that?
     2        A. Where we at?                             2             Do you see that?
     3        Q. The column all the way to                3        A. I do.
     4   the right.                                       4        Q. Who is Kim Brown?
     5        A. I see it.                                5        A. She might have had something
     6        Q. And it looks like it's cut               6   to do with Rx at the time. I can't
     7   off a little bit, and I'll say to you            7   remember her exact position.
     8   that's how we got the document ourselves.        8        Q. How about Tahir Senoussa?
     9             But do you know what this              9        A. Same. He was one of the
    10   column represents?                              10   managers at the time. He might have been
    11        A. Which? 106 filed?                       11   in Rx at the time as well.
    12        Q. Yes.                                    12        Q. And is M. Wood, Marian Wood?
    13        A. I guess just what it says,              13        A. That is correct.
    14   106 filed.                                      14        Q. And D. Chase, is that Debra
    15        Q. What is a 106?                          15   Chase?
    16        A. I don't remember, but I had             16        A. Yes.
    17   no responsibility on 106s. I cannot             17        Q. And L.N. Ringgold, is that
    18   remember what -- exactly what the 106 --        18   you, Larry Ringgold?
    19   I know it had something to do with things       19        A. That is correct.
    20   missing. But that was -- had nothing to         20        Q. How come you copied yourself
    21   deal with myself.                               21   on this e-mail?
    22        Q. Who had responsibility for              22        A. I don't remember.
    23   the 106s?                                       23        Q. You say in the e-mail, Hello
    24        A. Rx department, I would                  24   to all. I would like to have a quick
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     1   briefing with day and night shift                1        A. I do.
     2   associates that work in the cage. I just         2        Q. Why did -- do you know why
     3   want to go over a few procedures with the        3   Marian Wood and Kim Brown wanted to see
     4   scanning of their badges in and out of           4   what you were going over with the cage
     5   the cage. I would like to get with all           5   associates?
     6   the cage associates next week.                   6            MR. LAVELLE: Object to
     7            Do you see that?                        7        form.
     8        A. I do.                                    8            THE WITNESS: I would -- I
     9        Q. What were you referring to               9        don't know why, no.
    10   here when you wanted -- when you were           10   BY MR. POWERS:
    11   referring to the procedures about               11        Q. It sounds like Marian Wood
    12   scanning their badges in and out of the         12   wanted to make sure it's in line with the
    13   cage?                                           13   procedures of the distribution center,
    14        A. We had a few folks that was             14   right?
    15   getting locked in the cage. So what was         15            MR. LAVELLE: Object to
    16   happening, they wasn't doing a proper           16        form.
    17   swipe. They would swipe in. But to go           17            THE WITNESS: According to
    18   out, sometimes if you hit it twice, it          18        the e-mail.
    19   would think you were still in the cage          19   BY MR. POWERS:
    20   but you would actually be out.                  20        Q. Was there any time when you
    21            So I just had to explain to            21   gave procedures that were not in line
    22   them how to swipe in and out, because we        22   with the procedures at the Rite Aid
    23   were getting a lot of calls to the front,       23   distribution center?
    24   hey, I'm stuck in the cage. So we had to        24        A. Not that I'm aware of.
                                               Page 67                                             Page 69
     1   let them know, hey, when it happens,             1         Q. It seems like Marian Wood
     2   don't swipe it, just call us and we would        2   thinks there were, right, from that
     3   hit the anti-passback button.                    3   e-mail on the first page of Exhibit-5?
     4            So I just wanted to brief               4             MR. LAVELLE: Object to
     5   folks on that. That was it.                      5         form.
     6        Q. Going to the first page of               6             THE WITNESS: I couldn't
     7   Exhibit-5, at the bottom there, it looks         7         speculate for Marian.
     8   like an e-mail from Marian Wood to you           8   BY MR. POWERS:
     9   saying, Larry, would it be possible for          9         Q. And it seems like Kimberly
    10   Kim and I to see what you are going over        10   Brown agrees, because she says, Good
    11   with them?                                      11   call.
    12            Do you see that?                       12             Do you see that at the top
    13        A. I do.                                   13   there?
    14        Q. In the e-mail above that,               14         A. I see that.
    15   it's Marian Wood just to Kim Brown,             15             MR. LAVELLE: Object to
    16   saying, Kim, I want to be sure what he is       16         form.
    17   going over and make sure it is in line          17   BY MR. POWERS:
    18   with our procedures.                            18         Q. You can place that exhibit
    19            Do you see that?                       19   to the side.
    20        A. I do.                                   20               - - -
    21        Q. And Marian -- excuse me, Kim            21             (Whereupon,
    22   Brown responded, at the top e-mail, there       22         Rite Aid-Ringgold Exhibit-6,
    23   to Marian Wood, Good call, dot, dot, dot.       23         Rite_Aid_OMDL_23456-457, was
    24            Do you see that?                       24         marked for identification.)
   Golkow Litigation Services                                                   Page 18 (66 - 69)
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                                              Page 70                                            Page 72
     1             - - -
     2   BY MR. POWERS:
     3       Q. I'm going to hand you what's
     4   been marked as Ringgold Exhibit-6. It is
     5   Bates stamped Rite_Aid_OMDL_23456 through
     6   23457.                                          6        Q. And why are you sending it
     7       A. Thank you.                               7   to the particular group of individuals
     8       Q. So on the second page of                 8   here on the top of the second page of
     9   Exhibit-6, it looks like you're sending         9   Exhibit-6?
    10   an e-mail. And you say, FYI, the monthly       10        A. Just to let them know they
    11   Rx cage and vault test was conducted           11   were done.
    12   today.                                         12        Q. Who is Bill Morrow?
    13           Do you see that?                       13        A. At the time, he was one of
    14       A. I do.                                   14   the senior ops. He was over top of the
    15       Q. What is the monthly Rx cage             15   Rx department.
    16   and vault test?                                16        Q. So he was in the pharmacy
                                                        17   department, then?
                                                        18        A. He was over top the pharmacy
                                                        19   department.
                                                        20        Q. When you say "over top,"
                                                        21   what do you mean?
                                                        22        A. He overseen -- he was the
                                                        23   senior manager or ops manager for that
                    .                                   24   area, operations manager.
                                              Page 71                                            Page 73
                                                         1        Q. Did you do any other kinds
                                                         2   of monthly tests for the Rx cage and
                                                         3   vaults besides the ones you're talking
     4           MR. LAVELLE: You have to                4   about here?
     5       wait until the question is                  5        A. No.
     6       finished before you answer it.              6        Q. Turning to the first page of
     7   BY MR. POWERS:                                  7   Exhibit-6, it looks like it's a
     8       Q. I'll ask that again to be                8   conversation between Marian Wood and
     9   clear.                                          9   Keith Frost.
                                                        10            And Keith wrote at the
                                                        11   bottom there -- Keith Frost is asking
                                                        12   Marian Wood, Marian, do you put a copy of
                                                        13   this in a folder?
                                                        14            Do you see that?
                                                        15            MR. LAVELLE: Object to
                                                        16        form.
                                                        17   BY MR. POWERS:
                                                        18        Q. It's the first full e-mail
                                                        19   on the bottom of Page -- the first page
                                                        20   of Exhibit-6.
                                                        21        A. I see it.
                                                        22        Q. Then Marian responds to
                                                        23   Keith saying, No, because Larry keeps a
                                                        24   log.
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                                               Page 74                                              Page 76
     1            Do you see that?                        1   BY MR. POWERS:
     2        A. I do.                                    2        Q. So let me just clarify.
     3        Q. So Marian Wood is saying                 3             The -- you kept the
     4   that you kept a log of all the Rx cage           4   printouts from the Rx cage and vault
     5   and vault tests, right?                          5   tests, right?
     6            MR. LAVELLE: Object to                  6        A. Yes.
     7        form. Objection. Vague.                     7        Q. Were those printouts
     8            The question is about the               8   generated by the Rite Aid systems or the
     9        e-mails that Mr. Ringgold was not           9   security company's system?
    10        copied on and did not send or              10        A. Security company.
    11        receive.                                   11        Q. And where did you keep those
    12            MR. POWERS: John, just                 12   printouts?
    13        objection to form is fine.                 13        A. In a file.
    14   BY MR. POWERS:                                  14        Q. Where did you keep that
    15        Q. Mr. Ringgold, did you keep a            15   file?
    16   log of the Rx cage and vault tests?             16        A. In the office.
    17        A. I did not keep a log.                   17        Q. What office was that?
    18        Q. You did not keep a log?                 18        A. Security.
    19        A. No.                                     19        Q. You kept it in paper copy in
                                                         20   the office, the security office?
                                                         21        A. Yes.
                                                         22        Q. Did you ever have problems
                                                         23   keeping that particular file of the cage
                                                         24   and vault tests?
                                               Page 75                                              Page 77
                                                          1            MR. LAVELLE: Object to
                                                          2        form.
                                                          3            THE WITNESS: "Problems"
                                                          4        meaning?
                                                          5   BY MR. POWERS:
                                                          6        Q. Did you ever miss a
                                                          7   particular month or anything like that?
                                                          8        A. One time, I believe, in 18
     9        Q. Was it a written report?                 9   years.
    10        A. It was -- yes. Not really               10        Q. The first page of Exhibit-6
    11   written, but just showed actual motion 1,       11   there, there's an e-mail in the middle of
    12   motion 2, whatever, that it would go off.       12   the page from Keith Frost to Marian Wood.
    13            And that was part of the DEA           13            And Keith Frost says, How do
    14   compliance.                                     14   you know if he misses one or it isn't
    15        Q. Was that a -- was that,                 15   done correctly? Remember how they used
    16   like, a printout or something or --             16   to mess this up.
    17        A. Yes, it was a printout                  17            Do you see that?
    18   from --                                         18            MR. LAVELLE: Object to
    19            MR. LAVELLE: Wait until the            19        form.
    20        question is finished before you            20            THE WITNESS: I see it.
    21        answer it.                                 21   BY MR. POWERS:
    22            THE WITNESS: Yes.                      22        Q. Do you know why Keith Frost
    23            MR. LAVELLE: Otherwise the             23   thinks that you used to mess up keeping
    24        record is going to be messed up.           24   these records about the Rx cage and vault
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                                              Page 78                                               Page 80
     1   tests?                                          1           (Whereupon,
     2            MR. LAVELLE: Object to                 2       Rite Aid-Ringgold Exhibit-7,
     3        form.                                      3       Rite_Aid_OMDL_0012020-021, was
     4            THE WITNESS: I would not               4       marked for identification.)
     5        know.                                      5             - - -
     6   BY MR. POWERS:                                  6   BY MR. POWERS:
     7        Q. Did Keith Frost ever talk to            7       Q. I'm going to hand you what
     8   you about that?                                 8   has been marked as Exhibit-7. And the
     9        A. No, he did not.                         9   Bates number on this exhibit is
    10        Q. Did Marian Wood?                       10   Rite_Aid_OMDL_0012020 through 12021.
    11        A. No.                                    11           Take a look at that e-mail.
    12        Q. Did anyone else?                       12       A. Thank you.
    13        A. Not that I can recall.                 13       Q. On the bottom of the first
    14        Q. As part of your job as a               14   page of Exhibit-7, it looks like an
    15   security -- DEA security coordinator --        15   e-mail from you, sent March 19, 2011, to
    16   let me get the title right here.               16   Joyce Sweitzer and Nathan Williams.
    17            As part of your job for the           17           Do you see that?
    18   DEA coordinator for security, did you do       18       A. I do.
    19   any other periodic tests regarding the         19       Q. And you write, Ms. Sweitzer,
    20   security of the controlled drug cage?          20   I came in this afternoon at 1300, and
    21        A. No.
    22            MR. LAVELLE: Counsel, is
    23        this a convenient time? We've
    24        been going for over an hour. Can          24            Do you see that?
                                              Page 79                                               Page 81
     1      we take a break?                             1       A.    I do.
     2          MR. POWERS: We can take a                2       Q.    What does that mean,
     3      break if you'd like. I'll say, if
     4      you want to power through for
     5      another 20 minutes or so, we might
     6      be all ready to go home.
     7          MR. LAVELLE: I appreciate
     8      that, but I do need to use the
     9      restroom.
    10          MR. POWERS: We'll take a
    11      short break, then.
    12          VIDEO TECHNICIAN: The time
    13      is now 6:07 p.m. We are going off           13            Do you see that?
    14      the record.                                 14        A. I do.
    15             - - -                                15        Q. And then you continue on in
    16          (Whereupon, a brief recess              16   the sentence starting with, I am bringing
    17      was taken.)                                 17   this to your attention due to the audit
    18            - - -                                 18   team coming in next week.
    19          VIDEO TECHNICIAN: The time              19            Do you see that?
    20      is now 6:20 p.m. We are back on             20        A. I do.
    21      the record.                                 21        Q. Who is the audit team you're
    22   BY MR. POWERS:                                 22   referring to here?
    23      Q. Welcome back, Mr. Ringgold.              23        A. The in-house Rite Aid audit
    24             - - -                                24   team.
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     1        Q. Who was on that audit team?                1   might get a gig, due to not being armed
     2        A. I could not tell you.                      2   until 1330.
     3        Q. Do you know what the audit                 3            Do you see that?
     4   team would come and look at, at the                4        A. I do.
     5   distribution center?                               5        Q. What do you mean when you
     6        A. Everything from Rx -- this                 6   say "we might get a gig due to not being
     7   is compliance things, just to prepare us           7   armed until 1330"?
     8   for audit.                                         8        A. Gig meaning -- saying, hey,
     9        Q. And what responsibilities                  9   you know, you guys know this is supposed
    10   did you have with regard to that audit            10   to be done. We got to prepare -- to get
    11   team coming in?                                   11   us prepared for the actual audits.
    12        A. To the audit team, no                     12            So they would always send a
    13   responsibility for the audit team coming          13   team in prior to an actual audit. So
    14   in.                                               14   what I meant by gig is we could lose a
    15        Q. Let me ask that question a                15   couple of points.
    16   different way.                                    16        Q. So there was a team that
    17            Did the audit team audit any             17   came in before the actual audit team; is
    18   particular functions that you were                18   that right?
    19   responsible for?                                  19        A. Yes. We would get people
    20        A. Yes.                                      20   come in before the actual team, yes.
    21        Q. What were those functions?                21        Q. Was the team -- actually,
                                                           22   let me ask it this way: Was the audit
                                                           23   team composed of Rite Aid employees?
                                                           24        A. Yes.
                                                 Page 83                                              Page 85
                                                            1        Q. Was the team that came in
                                                            2   before the audit team all Rite Aid
                                                            3   employees as well?
                                                            4        A. Yes, yes.
                                                            5        Q. So you had advanced notice
                                                            6   of when these audits were happening,
                                                            7   right?
                                                            8        A. Sometimes.
                                                            9        Q. Did the pre-audit team
                                                           10   always come in before the audit --
                                                           11        A. No.
                                                           12        Q. -- team did?
                                                           13        A. No.
                                                           14            MR. LAVELLE: You have to
                                                           15        wait until the question is
                                                           16        finished before you answer.
                                                           17   BY MR. POWERS:
                                                           18        Q. Let me make sure we have a
                                                           19   clear record on that.
                                                           20            So I referred to the audit
                                                           21   team, and then there's a team that comes
                                                           22   in before the audit team, right?
                                                           23        A. Yes.
                          If that is asked, we             24        Q. Can we call that team that
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     1   comes in before the pre-audit team?             1        before, on a date we wouldn't be
     2        A. Yes.                                    2        privy to, if the actual real audit
     3        Q. Or was there a formal name              3        team came, meaning DEA.
     4   for that team?                                  4            But for these, we had
     5        A. No.                                     5        notice.
     6        Q. Was that pre-audit team from            6   BY MR. POWERS:
     7   the distribution center in Perryman?            7        Q. Okay. So let me make sure
     8        A. I can't remember.                       8   that I'm differentiating between the
     9        Q. How about the audit team,               9   different audit teams here.
    10   were they composed of people who worked        10            When you're referring to the
    11   at the Perryman distribution center?           11   audit team in this e-mail in Exhibit-7,
    12        A. No.                                    12   are you referring to the DEA audit team
    13        Q. Do you know where the audit            13   or Rite Aid audit team?
    14   team employees were located?                   14        A. Rite Aid audit team.
    15        A. Other DCs.                             15        Q. Did you always have prior
    16        Q. Did you ever have any role             16   notification of when the Rite Aid audit
    17   on an audit team?                              17   team was coming in?
    18        A. No.                                    18        A. No.
    19        Q. Do you if people were                  19        Q. Did you always have prior
    20   selected for the audit teams?                  20   notice before the DEA audit team came in?
    21        A. Do I know people?                      21        A. No.
    22        Q. I'm saying, do you know how            22        Q. Did you ever have prior
    23   people were selected to --                     23   notice before the DEA audit team came in?
    24        A. I do not.                              24        A. No.
                                              Page 87                                            Page 89
     1        Q. Just let me finish the                  1       Q. Do you know why or why not
     2   question.                                       2   you would get notice about the Rite Aid
     3            Do you know how people were            3   audit team coming in?
     4   selected to be on the audit teams?              4            MR. LAVELLE: Object to
     5        A. No, I do not.                           5       form.
     6        Q. And I believe you said that             6            THE WITNESS: I do not know.
     7   when the audit team came in, there              7   BY MR. POWERS:
     8   sometimes was a pre-audit team that came        8       Q. And back to Exhibit-7 here.
     9   in before the audit team, right?
    10        A. Yes, just to check us.
    11   Right.
    12        Q. So you would have notice if
    13   the audit team was coming in; is that
    14   right?
    15        A. Re-ask the question, please.
    16        Q. Sure.
    17            Did you have notice when the
    18   audit team was coming to the distribution
    19   center?
    20            MR. LAVELLE: Object to
    21        form. Objection. Asked and
    22        answered.
    23            THE WITNESS: On these, yes,
    24        we would know. But, like I said
   Golkow Litigation Services                                                  Page 23 (86 - 89)
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                                                        1        give an audible answer, such as
                                                        2        yes, no, I don't know.
                                                        3             THE WITNESS: Yes.
     4         Q. Do you remember if you                4   BY MR. POWERS:
     5   actually got points off for this               5        Q. And then it looks like, on
     6   particular instance of the alarm not           6   the first page of Exhibit-8, you respond
     7   being armed?                                   7   to Keith Frost by saying, Keith, Tammy
     8         A. I don't remember.                     8   was given access due to me talking with
     9         Q. I'm going to move on to a             9   Anna Karn, and she said that she was
    10   new exhibit here. You can put that one        10   starting in the cage today. So I would
    11   to the side.                                  11   never just give access without confirming
    12               - - -                             12   it with a manager.
    13             (Whereupon,                         13             Do you see that?
    14         Rite Aid-Ringgold Exhibit-8,            14        A. I do.
    15         Rite_Aid_OMDL_0011115-116, was          15        Q. Skipping ahead there, it
    16         marked for identification.)             16   says, I know that in the past they
    17              - - -                              17   normally have their background check done
    18   BY MR. POWERS:                                18   before they start in the cage.
    19         Q. I marked Ringgold Exhibit-8,         19             Do you see that?
    20   it is a two-page document with the Bates      20        A. I do.
    21   number Rite_Aid_OMDL_0011115 through          21        Q. But you gave access to Tammy
    22   11116.                                        22   Coakley even though she didn't have a
    23             So on the second page of            23   background check done, right?
    24   Exhibit-8, it looks like at the top           24        A. According to the e-mail.
                                             Page 91                                             Page 93
     1   there, there's an e-mail -- actually,          1         Q. And that's not something you
     2   it's -- the "from" line is on the first        2   should have done, right?
     3   page of Exhibit-8, it's from Keith Frost       3             MR. LAVELLE: Object to
     4   down there at the bottom, and then it          4         form.
     5   looks like it's sent to Marian Wood,           5             THE WITNESS: It came
     6   Larry Ringgold, Keith Frost and Nathan         6         through a manager.
     7   Williams.                                      7   BY MR. POWERS:
     8             Do you see that?                     8         Q. Marian responds in the top
     9         A. Where we looking at?                  9   there, and says, As has always been done,
    10         Q. The very top of the second           10   Keith and I received confirmation that a
    11   page of Exhibit-8.                            11   background check was completed and
    12         A. Second page. I see it.               12   approved, then I send an e-mail/SYSM out
    13         Q. And it looks like Keith              13   to you, Nathan, Rick, assistants, et
    14   Frost writes, Larry should not have given     14   cetera, that the associate has been
    15   her access without her having done a          15   approved for cage access. To my
    16   background check and went through the         16   knowledge, this process has not been
    17   training.                                     17   changed.
    18             Do you see that?                    18             Do you see that?
    19         A. I do.                                19         A. I'm trying to see where
    20         Q. And it looks like Keith              20   you're at.
    21   Frost is referring to you giving access       21         Q. The top e-mail there on the
    22   to a woman named Tammy Coakley, right?        22   first page.
    23         A. Uh-huh.                              23         A. I do see -- I see it.
    24             MR. LAVELLE: You need to            24         Q. So Marian is saying here
   Golkow Litigation Services                                                 Page 24 (90 - 93)
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     1   that the process of giving cage access         1   didn't you tell Larry to remove Tammy
     2   has never changed, right?                      2   Coakley from cage access? She's on the
     3        A. According to the e-mail.               3   access list from Friday, 3/2.
     4        Q. And you didn't follow that             4              Do you see that?
     5   policy when you gave Tammy Coakley access      5         A. I do.
     6   to the cage, right?                            6         Q. And then it looks like
     7        A. I got confirmation from a              7   Marian, in her response to Keith, copies
     8   manager, who was part of Rx that               8   you right above that saying, Yes, I did
     9   particular day.                                9   last month.
    10        Q. But the policy was that the           10              Right?
    11   particular person, before getting access      11         A. Where we at?
    12   to the cage, had to have a background         12         Q. I'm sorry. I'm looking at
    13   check, right?                                 13   the e-mail. It's sort of hard, because
    14            MR. LAVELLE: Object to               14   it's split across the two pages there.
    15        form.                                    15              But it looks like an e-mail
    16            THE WITNESS: Normally.               16   from Keith Frost to Marian Wood and
    17   BY MR. POWERS:                                17   yourself, indicating that Keith asked you
    18        Q. The policy was not just               18   to remove Tammy Coakley from cage access,
    19   whether a manager signed off, right?          19   right?
    20            MR. LAVELLE: Object to               20              MR. LAVELLE: Object to
    21        form.                                    21         form.
    22            THE WITNESS: I don't                 22              THE WITNESS: As per the
    23        remember on that.                        23         e-mail.
    24   BY MR. POWERS:                                24   BY MR. POWERS:
                                             Page 95                                             Page 97
     1        Q. And these e-mails are dated            1       Q. And then Marian follows up
     2   February 20th, 2012, correct?                  2   on that e-mail saying, Larry -- right
     3        A. That is correct.                       3   above that on the front page of
     4               - - -                              4   Exhibit-9, Larry, please remove Tammy
     5            (Whereupon,                           5   Coakley from cage access until we can get
     6        Rite Aid-Ringgold Exhibit-9,              6   a current background check.
     7        Rite_Aid_OMDL_0003108-109, was            7            Do you see that?
     8        marked for identification.)               8       A. I do see that.
     9              - - -                               9       Q. And then you respond, Access
    10   BY MR. POWERS:                                10   has been taken off as requested.
    11        Q. You can put that exhibit to           11            Right?
    12   the side. I'm going to hand you what's        12       A. Yes.
    13   been marked as Exhibit-9. It's a              13       Q. And this is on March 5th,
    14   two-page document with the Bates stamp of     14   2012, correct?
    15   Rite_Aid_OMDL_0003108 through 3109.           15       A. That is correct.
    16            Take a look at that one.             16       Q. And the previous exhibit we
    17        A. Thank you.                            17   were looking at, Exhibit-8, that was also
    18        Q. So these e-mails in                   18   about Tammy Coakley, right?
    19   Exhibit-9 are dated March 5th, 2012,          19       A. Yes.
    20   right?                                        20       Q. And those e-mails were
    21        A. Yes.                                  21   February 20th, 2012, right? The
    22        Q. And the e-mail string starts          22   previous --
    23   there at the bottom with an e-mail from       23       A. Which --
    24   Marian Wood to Keith Frost saying, Keith,     24       Q. I'm sorry, the previous
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     1   exhibit, Exhibit-8.                             1   February 2020, but I think you meant --
     2             Those e-mails were dated              2        A. No.
     3   February 20th, 2012, right?                     3        Q. -- February 20, 2012, right?
     4        A. Yes.                                    4        A. That is correct.
     5        Q. And those were also about               5               - - -
     6   giving Tammy Coakley cage access, right?        6            (Whereupon,
     7        A. That is correct.                        7        Rite Aid-Ringgold Exhibit-10,
     8        Q. So Tammy Coakley had cage               8        Rite_Aid_OMDL_0010795-796, was
     9   access from February 20th, 2012 through         9        marked for identification.)
    10   at least March 5th, 2012, right?               10              - - -
    11        A. That is possible.                      11   BY MR. POWERS:
    12        Q. But she was not ever                   12        Q. I'll hand you an exhibit
    13   supposed to have gotten cage access in         13   that's been marked Exhibit-10. It's
    14   the first place, right?                        14   Bates stamped Rite_Aid_OMDL_0010795
    15             MR. LAVELLE: Object to               15   through 0010796.
    16        form.                                     16        A. Thank you.
    17             THE WITNESS: That doesn't            17        Q. The first e-mail in the
    18        come through me. Authorization            18   chain here, which is on the last page of
    19        does not come through me.                 19   Exhibit-10 and goes on to the first page
    20   BY MR. POWERS:                                 20   of Exhibit-10, looks like it's from David
    21        Q. But in Exhibit-8, Marian               21   Berger.
    22   Wood is saying that she should not have        22            Do you know who that is?
    23   gotten -- Tammy Coakley should not have        23        A. I do not remember David
    24   gotten cage access, right?                     24   Berger.
                                              Page 99                                           Page 101
     1         A.   Where we at now? Where we            1         Q. And it's dated June 23rd,
     2   at?                                             2   2011, right?
     3        Q. Exhibit-8.                              3         A. That is correct.
     4        A. Exhibit-8.                              4         Q. And it looks like, on the
     5        Q. And if you look at the                  5   first page of Exhibit-10 here, that
     6   second page of Exhibit-8 there, it's            6   Marian Wood forwards that e-mail chain
     7   actually Keith Frost who says, Larry            7   below to you, right?
     8   should not have given her access without        8         A. Yes. Yes.
     9   having done a background check and went         9         Q. And in that e-mail chain
    10   through the training, at the top there on      10   that you were forwarded, that was written
    11   the second page of Exhibit-8.                  11   by David Berger, David Berger says on the
    12        A. I see that.                            12   top of the second page of Exhibit-10 --
    13        Q. So Tammy Coakley should not            13   looking at the second page at the very
    14   have had cage access, but yet she did          14   top.
    15   from 2/20/2012 through 3/5/2012, right?        15         A. It starts at the bottom.
    16             MR. LAVELLE: Object to               16         Q. Right. It starts at the
    17        form.                                     17   bottom, but I'm going to talk about the
    18             THE WITNESS: From here, it           18   top of the page.
    19        looks like she had it February            19         A. Go ahead.
    20        2020. But I could not say she had         20         Q. The second page of
    21        it the entire time until March            21   Exhibit-10.
    22        5th.                                      22            It says,
    23   BY MR. POWERS:
    24        Q. I'm sorry, I think you said
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     5            Do you see that?
     6       A.    I do.
     7       Q.    What is David Berger saying
     8   here?
     9          MR. LAVELLE: Object to
    10      form.
    11          THE WITNESS: He's saying
    12      just what it states in the e-mail.
    13   BY MR. POWERS:




    18        A. That's what it says.
    19        Q. And that's -- that's against           19        Q. You can put that exhibit to
    20   the protocol, right?                           20   the side.
    21           MR. LAVELLE: Object to                 21            I want to go back to
    22        form.                                     22   something we were talking about earlier,
    23           THE WITNESS: Yes and no.               23   the Buzzeo conference that you went to
    24   BY MR. POWERS:                                 24   down in Fort Lauderdale.
                                             Page 103                                            Page 105
     1       Q.    Why do you say no?                    1            Do you know why you were
                                                         2   selected to go to that particular
                                                         3   conference?
                                                         4       A. I don't remember. I believe
                                                         5   because I was security DEA.
                                                         6       Q. Who made that decision that
                                                         7   you would go to that conference?
                                                         8            MR. LAVELLE: Object to
                                                         9       form.
                                                        10            THE WITNESS: I wouldn't
                                                        11       know. It could have possibly been
                                                        12       the GM. I'm not sure.
                                                        13   BY MR. POWERS:
                                                        14       Q. And how about the conference
                                                        15   in Virginia that you went to with Rick
                                                        16   Snyder, Joyce Sweitzer, do you know why
                                                        17   you were selected to go to that
                                                        18   conference?
                                                        19       A. I do not.
                                                        20       Q. Who told you that you could
                                                        21   go to that conference?
                                                        22       A. Ms. Joyce Sweitzer.
                                                        23       Q. Is there any reason why you
                                                        24   didn't attend any other Buzzeo
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     1   conferences after the one you attended in       1        Q. All right. I'd like to ask
     2   Fort Lauderdale?                                2   you first to turn to Ringgold-8, and go
     3        A. Budget.                                 3   to the second page of that document.
     4        Q. How do you know that?                   4   It's Rite_Aid_OMDL_0011116.
     5        A. I think we were -- we wanted            5            Do you have that in front of
     6   to go to some other stuff, but they said        6   you, sir?
     7   because of budgets, we could not go.            7        A. Yes, I do.
     8        Q. Do you know when that was?              8        Q. And you'll see that there is
     9        A. I do not remember, no.                  9   an e-mail at the bottom of this chain
    10        Q. Did anyone from the Perryman           10   from Marian Wood to Keith Frost, dated
    11   distribution center go to those other          11   Monday, February 20th, 2012.
    12   Buzzeo conferences that you were not able      12            Do you see that part of the
    13   to?                                            13   e-mail in front of you?
    14        A. I wouldn't know.                       14        A. I do.
    15            MR. POWERS: That's all I              15        Q. Okay. Would you please read
    16        have.                                     16   for the members of the jury viewing this
    17            MR. LAVELLE: I have some              17   video the fourth sentence of Ms. Wood's
    18        brief questioning of the witness,         18   e-mail to Mr. Frost? It starts with, Do
    19        but I guess we should switch              19   we know.
    20        places.                                   20        A. Do you give approval? Do we
    21            VIDEO TECHNICIAN: The time            21   know when her last background check was?
    22        is now 6:47 p.m. We're going off          22        Q. Stop right there.
    23        the record.                               23            Now, turn to Ringgold-9,
    24               - - -                              24   please.
                                             Page 107                                           Page 109
     1             (Whereupon, a brief recess            1             Do you have that in front of
     2        was taken.)                                2   you, sir?
     3               - - -                               3        A. I do.
     4             VIDEO TECHNICIAN: The time            4        Q. Rite_Aid_OMDL_0003108.
     5        is now 6:54 p.m. We are back on            5             Do you see that the third
     6        the record.                                6   e-mail on that page is an e-mail from
     7                - - -                              7   Marian Wood to you and Nathan Williams,
     8               EXAMINATION                         8   among other people?
     9                - - -                              9             Do you see that? It's on
    10   BY MR. LAVELLE:                                10   the first page, sir.
    11        Q. Hello, Mr. Ringgold. John              11        A. First page.
    12   Lavelle, representing Rite Aid. I have         12        Q. A Marian Wood e-mail dated
    13   just a few questions for you.                  13   Monday, March 5th, 2012, 10:09 a.m. to
    14             I'd like to ask you first            14   you and Nathan Williams and R. Snyder?
    15   to -- following up on the documents            15        A. Yes.
    16   Ringgold-8 and 9 that were discussed with      16        Q. You see that?
    17   you by counsel for plaintiff earlier.          17        A. I see that.
    18             Do you have those in front           18        Q. Would you read, please, for
    19   of you, sir?                                   19   the members of the jury, what Ms. Wood
    20        A. Yes, I do.                             20   wrote to you in that e-mail?
    21        Q. Okay. And these documents              21        A. Larry, please remove Tammy
    22   were about someone named Tammy Coakley;        22   Coakley from cage access until we can get
    23   is that right?                                 23   a current background check. Thanks,
    24        A. That is correct.                       24   Marian.
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     1        Q. So, Mr. Ringgold, do you               1   Ringgold-11.
     2   have an understanding of whether Tammy         2        A. I've read it.
     3   Coakley had a background check prior to        3        Q. Mr. Ringgold, do you
     4   March of 2012?                                 4   recognize this document we've marked for
     5           MR. POWERS: Objection to               5   identification as Ringgold-11?
     6        form.                                     6        A. Yes, I do.
     7           THE WITNESS: Yes.                      7        Q. What is it?
     8   BY MR. LAVELLE:                                8        A. This is a case overview.
     9        Q. And what's your                        9        Q. A case overview.
    10   understanding, sir?                           10            Is it an e-mail that you
    11        A. Background checks are done            11   sent?
    12   every so often.                               12        A. Yes.
    13        Q. Had Tammy Coakley worked              13        Q. You're in the "from" line of
    14   previously at Rite Aid?                       14   this e-mail; is that correct?
    15        A. Yes.                                  15        A. Yes.
    16        Q. Had she worked in the cage            16        Q. Who did you send this e-mail
    17   previously?                                   17   to?
    18        A. Yes.                                  18        A. Marian Wood, Charlotte
    19        Q. Had she received a                    19   Winder, Keith Frost. I think her name
    20   background check previously in order to       20   was Kim Temple, Bill Morrow, I attached
    21   work in the cage?                             21   myself, Nathan Williams, Joyce Sweitzer,
    22        A. To my understanding, yes.             22   Jesse Jones.
    23        Q. After all of these e-mails            23        Q. When did you send this?
    24   that went back and forth, Ringgold-8 and      24        A. November 11th, 2010.
                                            Page 111                                             Page 113
     1   Ringgold-9, do you know whether Ms.            1        Q. And what is the subject?
     2   Coakley did, ultimately, pass another          2        A. Store shortage for negative
     3   background check?                              3   2 of hydroco/APAP.
     4        A. Yes.                                   4        Q. Why did you write up this
     5        Q. Do you know whether she was            5   case overview in an e-mail to these
     6   given access to the cage again?                6   people?
     7        A. Yes.                                   7        A. That's what I always did
     8        Q. All right. I'd like to mark            8   after an investigation.
     9   an exhibit.                                    9        Q. So would it be fair to say
    10                - - -                            10   that this is an e-mail that summarizes
    11            (Whereupon,                          11   your investigation?
    12        Rite Aid-Ringgold Exhibit-11,            12        A. Yes.
    13        Rite_Aid_OMDL_0003562, was marked        13            MR. POWERS: Objection to
    14        for identification.)                     14        form.
    15               - - -                             15   BY MR. LAVELLE:
    16   BY MR. LAVELLE:                               16        Q. All right. Let's walk
    17        Q. Mr. Ringgold, I'm going to            17   through this e-mail.
    18   give you what we've marked for                18            Can you read the first
    19   identification as Ringgold-11.                19   sentence of the e-mail, please?
    20            Please take a look at it and         20        A. Yes. Charlotte, as per our
    21   tell me when you've had a chance to           21   discussion yesterday in reference to
    22   review it.                                    22   Store 2760's claim of negative 2
    23            It is Bates number                   23   hydroco/APAP.
    24   Rite_Aid_OMDL_0003562. Again, that's          24        Q. Can you explain to the
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     1   members of the jury viewing this video            1   of what they're supposed to pick for that
     2   what you meant in that sentence? What             2   particular tote. So I, in turn, get a
     3   does that -- what does that say?                  3   copy so I can make sure everything that
     4        A. This is stating that I did                4   was supposed to go into that tote went
     5   an overview, as per our discussion,               5   into the tote.
     6   with -- from the drug shortage.
     7        Q. So what is Store 2760?
     8        A. It's one of the Rite Aid
     9   stores that claimed to be missing two
    10   bottles of the hydroco/APAP.
    11        Q. Please read the next
    12   sentence.                                        12          MR. POWERS: Objection to
    13        A. On November 8th, at 0250 at              13       form.
    14   Station Number 5 Shannon Plourde was the
    15   verifier on the tote in question.                15   BY MR. LAVELLE:
    16        Q. How did you know -- or how               16        Q. And is that typically how
    17   did you learn the information that is in         17   you would conduct an investigation?
    18   that sentence?                                   18        A. That is correct.
    19        A. Two ways. I get a list of                19        Q. What's the next sentence of
    20   who is picking what at different times           20   this e-mail?
    21   from Marian, or whoever is inside the
    22   cage.
                                                          23       Q. What is your basis for what
                                                          24   you say in that sentence?
                                               Page 115                                              Page 117
                                                           1        A. There was a total number of
                                                           2   ten hydroco/APAP.
                                                           3        Q. Is that something that you
                                                           4   were able to determine from the video?
                                                           5        A. Yes.
                                                           6        Q. What's the next sentence
                                                           7   say?
                                                           8        A. Shannon continued to go by
                                                           9   the pick list until all 93 items were on
                                                          10   the table by 0257.
                                                          11        Q. And what was your basis for
                                                          12   what you just said in that sentence?
                                                          13        A. Just to show, although they
                                                          14   were -- it was ten total bottles of the
                                                          15   hydroco/APAP, I was still showing that
                                                          16   everything that was supposed to be in
                                                          17   that tote came out of that tote and went
                                                          18   back into the tote.
                                                          19        Q. What is a tote?
                                                          20        A. It's where all the product
                                                          21   is put to ship to the stores.
                                                          22        Q. Does each order go into a
    23       Q.   And what does that mean?                23   tote?
    24       A.   We get an actual pick list              24            MR. POWERS: Objection.
   Golkow Litigation Services                                                  Page 30 (114 - 117)
Case:Highly
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                                                                             Review
                                                Page 118                                                   Page 120
     1       Form.




    12       Q. Why would Shannon Plourde
    13   have put the items into bags?
    14       A. That is part of the                        14       A. That's where they store the
    15   procedure that they have to do. Before            15   controlled drugs when it's going out for
    16   they enter it into the tote, it goes into         16   shipment.
    17   a bag.




                                                                                                           Page 121




                                                            7        Q. What does it mean to load a
                                                            8   tote onto a trailer?
                                                            9        A. Meaning they put all the
                                                           10   totes into the trailer to get shipped to
                                                           11   the stores.
                                                           12        Q. The trailer is the truck
                                                           13   that takes it to the store?
                                                           14        A. That is correct.




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                                                                             Review
                                                  Page 122                                              Page 124
                                                              1        Q. So is this e-mail which
     2        Q. What does it mean to seal a                  2   we've just gone over, Ringgold-11, is
     3   trailer?                                             3   that typical of the type of report by
     4        A. Once the trailer is fully                    4   e-mail that you would send after
     5   loaded, we have to seal it with a seal               5   completing an investigation?
     6   for chain-of-custody purposes.                       6        A. Yes.
                                                              7            MR. POWERS: Objection to
                                                              8        form.
                                                              9   BY MR. LAVELLE:
                                                             10        Q. All right. You were shown
                                                             11   earlier by counsel Exhibits Ringgold-2
                                                             12   and 3.
                                                             13            Do you recall those
                                                             14   documents? Ringgold-2 was a one-page
                                                             15   e-mail, and then Ringgold-3 was a thick
                                                             16   document. Take your time and see if you
                                                             17   can find it.
                                                             18        A. Excuse me, which document is
                                                             19   that?
                                                             20        Q. Ringgold-3 is the one I'd
                                                             21   like you to put in front of you if you
                                                             22   could.
                                                             23        A. I see it. All right.
                                                             24            Here we go.
                                                  Page 123                                              Page 125
                                                              1        Q. I think you have it.
                                                              2        A. I do.
                                                              3        Q. Can you turn to the second
     4        Q. What's your conclusion in                    4   page of Ringgold-3?
     5   the next paragraph?                                  5        A. I got it.
     6            MR. POWERS: Objection to                    6        Q. Do you recall how you were
     7        form.                                           7   asked questions by counsel about this
     8            THE WITNESS: So after all                   8   tracking sheet earlier today, the weekly
     9        were checked, we were 100 percent               9   investigation tracking sheet?
    10        intact and DEA compliant at DC 10.             10        A. Yes.
                                                             11        Q. And you were asked about
                                                             12   investigations being marked as either
                                                             13   open or closed on this sheet?
                                                             14        A. That's correct.
                                                             15        Q. When you completed an
                                                             16   investigation like the one that you've
                                                             17   done on Ringgold-11, would that be
                                                             18   reflected in a tracking sheet like this?
                                                             19        A. That is correct.
                                                             20        Q. How would it be reflected?
                                                             21        A. X meaning it's closed,
                                                             22   meaning our part on the security side is
                                                             23   complete and our investigation is done.
                                                             24        Q. So the investigation that's
   Golkow Litigation Services                                                     Page 32 (122 - 125)
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     1   described in Ringgold-11 was closed by           1        INSTRUCTIONS TO WITNESS
     2   the time you sent this e-mail?                   2
     3        A. That is correct.                         3            Please read your deposition
     4        Q. And this is typical of the               4   over carefully and make any necessary
     5   type of investigation that you conducted         5   corrections. You should state the reason
     6   as the DEA coordinator for security?             6   in the appropriate space on the errata
     7            MR. POWERS: Object to the               7   sheet for any corrections that are made.
     8        form.                                       8            After doing so, please sign
     9            THE WITNESS: That is                    9   the errata sheet and date it.
    10        correct.                                   10            You are signing same subject
    11            MR. LAVELLE: I have no                 11   to the changes you have noted on the
    12        further questions.                         12   errata sheet, which will be attached to
    13            MR. POWERS: I don't have               13   your deposition.
    14        any follow-up.                             14            It is imperative that you
    15            VIDEO TECHNICIAN: The time             15   return the original errata sheet to the
    16        is now 7:11 p.m. This concludes            16   deposing attorney within thirty (30) days
    17        today's deposition. We're going            17   of receipt of the deposition transcript
    18        off the record.                            18   by you. If you fail to do so, the
    19               - - -                               19   deposition transcript may be deemed to be
    20            (Whereupon, the deposition             20   accurate and may be used in court.
    21        concluded at 7:11 p.m.)                    21
    22               - - -                               22
    23                                                   23
    24                                                   24

                                              Page 127                                            Page 129
     1            CERTIFICATE                             1          ------
     2                                                               ERRATA
     3                                                    2          ------
     4           I HEREBY CERTIFY that the                3   PAGE LINE CHANGE/REASON
     5   witness was duly sworn by me and that the        4   ____ ____ ____________________________
     6   deposition is a true record of the               5   ____ ____ ____________________________
     7   testimony given by the witness.                  6   ____ ____ ____________________________
     8                                                    7   ____ ____ ____________________________
     9
                                                          8   ____ ____ ____________________________
    10
                                                          9   ____ ____ ____________________________
             Amanda Maslynsky-Miller                     10   ____ ____ ____________________________
    11       Certified Realtime Reporter                 11   ____ ____ ____________________________
             Dated: January 27, 2019                     12   ____ ____ ____________________________
    12
                                                         13   ____ ____ ____________________________
    13
                                                         14   ____ ____ ____________________________
    14
                                                         15   ____ ____ ____________________________
    15
                                                         16   ____ ____ ____________________________
    16
                                                         17   ____ ____ ____________________________
    17             (The foregoing certification
    18                                                   18   ____ ____ ____________________________
         of this transcript does not apply to any
    19                                                   19   ____ ____ ____________________________
         reproduction of the same by any means,
    20                                                   20   ____ ____ ____________________________
         unless under the direct control and/or
    21                                                   21   ____ ____ ____________________________
         supervision of the certifying reporter.)
    22                                                   22   ____ ____ ____________________________
    23                                                   23   ____ ____ ____________________________
    24                                                   24   ____ ____ ____________________________

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                                                                             Review
                                                    Page 130
     1       ACKNOWLEDGMENT OF DEPONENT
     2
                 I,_____________________, do
     3   hereby certify that I have read the
         foregoing pages, 1 - 126, and that the
     4   same is a correct transcription of the
         answers given by me to the questions
     5   therein propounded, except for the
         corrections or changes in form or
     6   substance, if any, noted in the attached
         Errata Sheet.
     7
     8   _______________________________________
         LARRY RINGGOLD           DATE
     9
    10
         Subscribed and sworn
    11   to before me this
         _____ day of ______________, 20____.
    12
         My commission expires:______________
    13
    14   ____________________________________
         Notary Public
    15
    16
    17
    18
    19
    20
    21
    22
    23
    24

                                                    Page 131
     1          LAWYER'S NOTES
     2   PAGE LINE
     3   ____ ____ ____________________________
     4   ____ ____ ____________________________
     5   ____ ____ ____________________________
     6   ____ ____ ____________________________
     7   ____ ____ ____________________________
     8   ____ ____ ____________________________
     9   ____ ____ ____________________________
    10   ____ ____ ____________________________
    11   ____ ____ ____________________________
    12   ____ ____ ____________________________
    13   ____ ____ ____________________________
    14   ____ ____ ____________________________
    15   ____ ____ ____________________________
    16   ____ ____ ____________________________
    17   ____ ____ ____________________________
    18   ____ ____ ____________________________
    19   ____ ____ ____________________________
    20   ____ ____ ____________________________
    21   ____ ____ ____________________________
    22   ____ ____ ____________________________
    23   ____ ____ ____________________________
    24   ____ ____ ____________________________

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